Case 4:18-cv-00123 Document 273-7 Filed on 12/04/19 in TXSD Page 1 of 130




        EXHIBIT 7




                                                        Exhibit 7 at 001
Case 4:18-cv-00123 Document 273-7 Filed on 12/04/19 in TXSD Page 2 of 130




                                                                       Exhibit 7 at 002
Case 4:18-cv-00123 Document 273-7 Filed on 12/04/19 in TXSD Page 3 of 130




                                                                       Exhibit 7 at 003
Case 4:18-cv-00123 Document 273-7 Filed on 12/04/19 in TXSD Page 4 of 130




                                                                        Exhibit 7 at 004
Case 4:18-cv-00123 Document 273-7 Filed on 12/04/19 in TXSD Page 5 of 130




                                                                        Exhibit 7 at 005
Case 4:18-cv-00123 Document 273-7 Filed on 12/04/19 in TXSD Page 6 of 130




                                                                        Exhibit 7 at 006
Case 4:18-cv-00123 Document 273-7 Filed on 12/04/19 in TXSD Page 7 of 130




                                                                        Exhibit 7 at 007
Case 4:18-cv-00123 Document 273-7 Filed on 12/04/19 in TXSD Page 8 of 130




                                                                        Exhibit 7 at 008
Case 4:18-cv-00123 Document 273-7 Filed on 12/04/19 in TXSD Page 9 of 130




                                                                        Exhibit 7 at 009
Case 4:18-cv-00123 Document 273-7 Filed on 12/04/19 in TXSD Page 10 of 130




                                                                        Exhibit 7 at 010
Case 4:18-cv-00123 Document 273-7 Filed on 12/04/19 in TXSD Page 11 of 130




                                                                        Exhibit 7 at 011
Case 4:18-cv-00123 Document 273-7 Filed on 12/04/19 in TXSD Page 12 of 130




                                                                        Exhibit 7 at 012
Case 4:18-cv-00123 Document 273-7 Filed on 12/04/19 in TXSD Page 13 of 130




                                                                        Exhibit 7 at 013
Case 4:18-cv-00123 Document 273-7 Filed on 12/04/19 in TXSD Page 14 of 130




                                                                        Exhibit 7 at 014
Case 4:18-cv-00123 Document 273-7 Filed on 12/04/19 in TXSD Page 15 of 130




                                                         Exhibit 7 at 015
Case 4:18-cv-00123 Document 273-7 Filed on 12/04/19 in TXSD Page 16 of 130




                                                         Exhibit 7 at 016
Case 4:18-cv-00123 Document 273-7 Filed on 12/04/19 in TXSD Page 17 of 130




                                                         Exhibit 7 at 017
Case 4:18-cv-00123 Document 273-7 Filed on 12/04/19 in TXSD Page 18 of 130




                                                         Exhibit 7 at 018
Case 4:18-cv-00123 Document 273-7 Filed on 12/04/19 in TXSD Page 19 of 130




                                                         Exhibit 7 at 019
Case 4:18-cv-00123 Document 273-7 Filed on 12/04/19 in TXSD Page 20 of 130




                                                         Exhibit 7 at 020
Case 4:18-cv-00123 Document 273-7 Filed on 12/04/19 in TXSD Page 21 of 130




                                                         Exhibit 7 at 021
Case 4:18-cv-00123 Document 273-7 Filed on 12/04/19 in TXSD Page 22 of 130




                                                         Exhibit 7 at 022
Case 4:18-cv-00123 Document 273-7 Filed on 12/04/19 in TXSD Page 23 of 130




                                                         Exhibit 7 at 023
Case 4:18-cv-00123 Document 273-7 Filed on 12/04/19 in TXSD Page 24 of 130




                                                         Exhibit 7 at 024
Case 4:18-cv-00123 Document 273-7 Filed on 12/04/19 in TXSD Page 25 of 130




                                                         Exhibit 7 at 025
Case 4:18-cv-00123 Document 273-7 Filed on 12/04/19 in TXSD Page 26 of 130




                                                         Exhibit 7 at 026
Case 4:18-cv-00123 Document 273-7 Filed on 12/04/19 in TXSD Page 27 of 130




                                                         Exhibit 7 at 027
Case 4:18-cv-00123 Document 273-7 Filed on 12/04/19 in TXSD Page 28 of 130




                                                         Exhibit 7 at 028
Case 4:18-cv-00123 Document 273-7 Filed on 12/04/19 in TXSD Page 29 of 130




                                                         Exhibit 7 at 029
Case 4:18-cv-00123 Document 273-7 Filed on 12/04/19 in TXSD Page 30 of 130




                                                         Exhibit 7 at 030
Case 4:18-cv-00123 Document 273-7 Filed on 12/04/19 in TXSD Page 31 of 130




                                                         Exhibit 7 at 031
Case 4:18-cv-00123 Document 273-7 Filed on 12/04/19 in TXSD Page 32 of 130




                                                         Exhibit 7 at 032
Case 4:18-cv-00123 Document 273-7 Filed on 12/04/19 in TXSD Page 33 of 130




                                                         Exhibit 7 at 033
Case 4:18-cv-00123 Document 273-7 Filed on 12/04/19 in TXSD Page 34 of 130




                                                         Exhibit 7 at 034
Case 4:18-cv-00123 Document 273-7 Filed on 12/04/19 in TXSD Page 35 of 130




                                                         Exhibit 7 at 035
Case 4:18-cv-00123 Document 273-7 Filed on 12/04/19 in TXSD Page 36 of 130




                                                         Exhibit 7 at 036
Case 4:18-cv-00123 Document 273-7 Filed on 12/04/19 in TXSD Page 37 of 130




                                                         Exhibit 7 at 037
Case 4:18-cv-00123 Document 273-7 Filed on 12/04/19 in TXSD Page 38 of 130




                                                         Exhibit 7 at 038
Case 4:18-cv-00123 Document 273-7 Filed on 12/04/19 in TXSD Page 39 of 130




                                                         Exhibit 7 at 039
Case 4:18-cv-00123 Document 273-7 Filed on 12/04/19 in TXSD Page 40 of 130




                                                         Exhibit 7 at 040
Case 4:18-cv-00123 Document 273-7 Filed on 12/04/19 in TXSD Page 41 of 130




                                                         Exhibit 7 at 041
Case 4:18-cv-00123 Document 273-7 Filed on 12/04/19 in TXSD Page 42 of 130




                                                         Exhibit 7 at 042
Case 4:18-cv-00123 Document 273-7 Filed on 12/04/19 in TXSD Page 43 of 130




                                                         Exhibit 7 at 043
Case 4:18-cv-00123 Document 273-7 Filed on 12/04/19 in TXSD Page 44 of 130




                                                         Exhibit 7 at 044
Case 4:18-cv-00123 Document 273-7 Filed on 12/04/19 in TXSD Page 45 of 130




                                                         Exhibit 7 at 045
Case 4:18-cv-00123 Document 273-7 Filed on 12/04/19 in TXSD Page 46 of 130




                                                         Exhibit 7 at 046
Case 4:18-cv-00123 Document 273-7 Filed on 12/04/19 in TXSD Page 47 of 130




                                                         Exhibit 7 at 047
Case 4:18-cv-00123 Document 273-7 Filed on 12/04/19 in TXSD Page 48 of 130




                                                         Exhibit 7 at 048
Case 4:18-cv-00123 Document 273-7 Filed on 12/04/19 in TXSD Page 49 of 130




                                                         Exhibit 7 at 049
Case 4:18-cv-00123 Document 273-7 Filed on 12/04/19 in TXSD Page 50 of 130




                                                         Exhibit 7 at 050
Case 4:18-cv-00123 Document 273-7 Filed on 12/04/19 in TXSD Page 51 of 130




                                                                        Exhibit 7 at 051
Case 4:18-cv-00123 Document 273-7 Filed on 12/04/19 in TXSD Page 52 of 130




                                                                        Exhibit 7 at 052
Case 4:18-cv-00123 Document 273-7 Filed on 12/04/19 in TXSD Page 53 of 130




                                                                        Exhibit 7 at 053
Case 4:18-cv-00123 Document 273-7 Filed on 12/04/19 in TXSD Page 54 of 130




                                                                        Exhibit 7 at 054
Case 4:18-cv-00123 Document 273-7 Filed on 12/04/19 in TXSD Page 55 of 130




                                                                        Exhibit 7 at 055
Case 4:18-cv-00123 Document 273-7 Filed on 12/04/19 in TXSD Page 56 of 130




                                                                        Exhibit 7 at 056
Case 4:18-cv-00123 Document 273-7 Filed on 12/04/19 in TXSD Page 57 of 130




                                                                        Exhibit 7 at 057
Case 4:18-cv-00123 Document 273-7 Filed on 12/04/19 in TXSD Page 58 of 130




                                                                        Exhibit 7 at 058
Case 4:18-cv-00123 Document 273-7 Filed on 12/04/19 in TXSD Page 59 of 130




                                                                        Exhibit 7 at 059
Case 4:18-cv-00123 Document 273-7 Filed on 12/04/19 in TXSD Page 60 of 130




                                                         Exhibit 7 at 060
Case 4:18-cv-00123 Document 273-7 Filed on 12/04/19 in TXSD Page 61 of 130




                                                                        Exhibit 7 at 061
Case 4:18-cv-00123 Document 273-7 Filed on 12/04/19 in TXSD Page 62 of 130




                                                         Exhibit 7 at 062
Case 4:18-cv-00123 Document 273-7 Filed on 12/04/19 in TXSD Page 63 of 130




                                                         Exhibit 7 at 063
Case 4:18-cv-00123 Document 273-7 Filed on 12/04/19 in TXSD Page 64 of 130




                                                         Exhibit 7 at 064
Case 4:18-cv-00123 Document 273-7 Filed on 12/04/19 in TXSD Page 65 of 130




                                                         Exhibit 7 at 065
Case 4:18-cv-00123 Document 273-7 Filed on 12/04/19 in TXSD Page 66 of 130




                                                         Exhibit 7 at 066
Case 4:18-cv-00123 Document 273-7 Filed on 12/04/19 in TXSD Page 67 of 130




                                                                        Exhibit 7 at 067
Case 4:18-cv-00123 Document 273-7 Filed on 12/04/19 in TXSD Page 68 of 130




                                                                        Exhibit 7 at 068
Case 4:18-cv-00123 Document 273-7 Filed on 12/04/19 in TXSD Page 69 of 130




                                                                        Exhibit 7 at 069
Case 4:18-cv-00123 Document 273-7 Filed on 12/04/19 in TXSD Page 70 of 130




                                                                        Exhibit 7 at 070
Case 4:18-cv-00123 Document 273-7 Filed on 12/04/19 in TXSD Page 71 of 130




                                                                        Exhibit 7 at 071
Case 4:18-cv-00123 Document 273-7 Filed on 12/04/19 in TXSD Page 72 of 130




                                                                        Exhibit 7 at 072
Case 4:18-cv-00123 Document 273-7 Filed on 12/04/19 in TXSD Page 73 of 130




                                                                        Exhibit 7 at 073
Case 4:18-cv-00123 Document 273-7 Filed on 12/04/19 in TXSD Page 74 of 130




                                                                        Exhibit 7 at 074
Case 4:18-cv-00123 Document 273-7 Filed on 12/04/19 in TXSD Page 75 of 130




                                                                        Exhibit 7 at 075
Case 4:18-cv-00123 Document 273-7 Filed on 12/04/19 in TXSD Page 76 of 130




                                                                        Exhibit 7 at 076
Case 4:18-cv-00123 Document 273-7 Filed on 12/04/19 in TXSD Page 77 of 130




                                                                        Exhibit 7 at 077
Case 4:18-cv-00123 Document 273-7 Filed on 12/04/19 in TXSD Page 78 of 130




                                                         Exhibit 7 at 078
Case 4:18-cv-00123 Document 273-7 Filed on 12/04/19 in TXSD Page 79 of 130




                                                         Exhibit 7 at 079
Case 4:18-cv-00123 Document 273-7 Filed on 12/04/19 in TXSD Page 80 of 130




                                                                        Exhibit 7 at 080
Case 4:18-cv-00123 Document 273-7 Filed on 12/04/19 in TXSD Page 81 of 130




                                                                        Exhibit 7 at 081
Case 4:18-cv-00123 Document 273-7 Filed on 12/04/19 in TXSD Page 82 of 130




                                                                        Exhibit 7 at 082
Case 4:18-cv-00123 Document 273-7 Filed on 12/04/19 in TXSD Page 83 of 130




                                                                        Exhibit 7 at 083
Case 4:18-cv-00123 Document 273-7 Filed on 12/04/19 in TXSD Page 84 of 130




                                                                        Exhibit 7 at 084
Case 4:18-cv-00123 Document 273-7 Filed on 12/04/19 in TXSD Page 85 of 130




                                                         Exhibit 7 at 085
Case 4:18-cv-00123 Document 273-7 Filed on 12/04/19 in TXSD Page 86 of 130




                                                                        Exhibit 7 at 086
Case 4:18-cv-00123 Document 273-7 Filed on 12/04/19 in TXSD Page 87 of 130




                                                                        Exhibit 7 at 087
Case 4:18-cv-00123 Document 273-7 Filed on 12/04/19 in TXSD Page 88 of 130




                                                                        Exhibit 7 at 088
Case 4:18-cv-00123 Document 273-7 Filed on 12/04/19 in TXSD Page 89 of 130




                                                                        Exhibit 7 at 089
Case 4:18-cv-00123 Document 273-7 Filed on 12/04/19 in TXSD Page 90 of 130




                                                                        Exhibit 7 at 090
Case 4:18-cv-00123 Document 273-7 Filed on 12/04/19 in TXSD Page 91 of 130




                                                                        Exhibit 7 at 091
Case 4:18-cv-00123 Document 273-7 Filed on 12/04/19 in TXSD Page 92 of 130




                                                                        Exhibit 7 at 092
Case 4:18-cv-00123 Document 273-7 Filed on 12/04/19 in TXSD Page 93 of 130




                                                                        Exhibit 7 at 093
Case 4:18-cv-00123 Document 273-7 Filed on 12/04/19 in TXSD Page 94 of 130




                                                                        Exhibit 7 at 094
Case 4:18-cv-00123 Document 273-7 Filed on 12/04/19 in TXSD Page 95 of 130




                                                                         Exhibit 7 at 095
Case 4:18-cv-00123 Document 273-7 Filed on 12/04/19 in TXSD Page 96 of 130




                                                                        Exhibit 7 at 096
Case 4:18-cv-00123 Document 273-7 Filed on 12/04/19 in TXSD Page 97 of 130




                                                                        Exhibit 7 at 097
Case 4:18-cv-00123 Document 273-7 Filed on 12/04/19 in TXSD Page 98 of 130




                                                                        Exhibit 7 at 098
Case 4:18-cv-00123 Document 273-7 Filed on 12/04/19 in TXSD Page 99 of 130




                                                                        Exhibit 7 at 099
Case 4:18-cv-00123 Document 273-7 Filed on 12/04/19 in TXSD Page 100 of 130




                                                                         Exhibit 7 at 100
Case 4:18-cv-00123 Document 273-7 Filed on 12/04/19 in TXSD Page 101 of 130




                                                                         Exhibit 7 at 101
Case 4:18-cv-00123 Document 273-7 Filed on 12/04/19 in TXSD Page 102 of 130




                                                                         Exhibit 7 at 102
Case 4:18-cv-00123 Document 273-7 Filed on 12/04/19 in TXSD Page 103 of 130




                                                                         Exhibit 7 at 103
Case 4:18-cv-00123 Document 273-7 Filed on 12/04/19 in TXSD Page 104 of 130




                                                                         Exhibit 7 at 104
Case 4:18-cv-00123 Document 273-7 Filed on 12/04/19 in TXSD Page 105 of 130




                                                                         Exhibit 7 at 105
Case 4:18-cv-00123 Document 273-7 Filed on 12/04/19 in TXSD Page 106 of 130




                                                                         Exhibit 7 at 106
Case 4:18-cv-00123 Document 273-7 Filed on 12/04/19 in TXSD Page 107 of 130




                                                                         Exhibit 7 at 107
Case 4:18-cv-00123 Document 273-7 Filed on 12/04/19 in TXSD Page 108 of 130




                                                                         Exhibit 7 at 108
Case 4:18-cv-00123 Document 273-7 Filed on 12/04/19 in TXSD Page 109 of 130




                                                                         Exhibit 7 at 109
Case 4:18-cv-00123 Document 273-7 Filed on 12/04/19 in TXSD Page 110 of 130




                                                                         Exhibit 7 at 110
Case 4:18-cv-00123 Document 273-7 Filed on 12/04/19 in TXSD Page 111 of 130




                                                                         Exhibit 7 at 111
Case 4:18-cv-00123 Document 273-7 Filed on 12/04/19 in TXSD Page 112 of 130




                                                                         Exhibit 7 at 112
Case 4:18-cv-00123 Document 273-7 Filed on 12/04/19 in TXSD Page 113 of 130




                                                                         Exhibit 7 at 113
Case 4:18-cv-00123 Document 273-7 Filed on 12/04/19 in TXSD Page 114 of 130




                                                                         Exhibit 7 at 114
Case 4:18-cv-00123 Document 273-7 Filed on 12/04/19 in TXSD Page 115 of 130




                                                                         Exhibit 7 at 115
Case 4:18-cv-00123 Document 273-7 Filed on 12/04/19 in TXSD Page 116 of 130




                                                                         Exhibit 7 at 116
Case 4:18-cv-00123 Document 273-7 Filed on 12/04/19 in TXSD Page 117 of 130




                                                                         Exhibit 7 at 117
Case 4:18-cv-00123 Document 273-7 Filed on 12/04/19 in TXSD Page 118 of 130




                                                                         Exhibit 7 at 118
Case 4:18-cv-00123 Document 273-7 Filed on 12/04/19 in TXSD Page 119 of 130




                                                                         Exhibit 7 at 119
Case 4:18-cv-00123 Document 273-7 Filed on 12/04/19 in TXSD Page 120 of 130




                                                                         Exhibit 7 at 120
Case 4:18-cv-00123 Document 273-7 Filed on 12/04/19 in TXSD Page 121 of 130




                                                                         Exhibit 7 at 121
Case 4:18-cv-00123 Document 273-7 Filed on 12/04/19 in TXSD Page 122 of 130




                                                                         Exhibit 7 at 122
Case 4:18-cv-00123 Document 273-7 Filed on 12/04/19 in TXSD Page 123 of 130




                                                                         Exhibit 7 at 123
Case 4:18-cv-00123 Document 273-7 Filed on 12/04/19 in TXSD Page 124 of 130




                                                                         Exhibit 7 at 124
Case 4:18-cv-00123 Document 273-7 Filed on 12/04/19 in TXSD Page 125 of 130




                                                                         Exhibit 7 at 125
Case 4:18-cv-00123 Document 273-7 Filed on 12/04/19 in TXSD Page 126 of 130




                                                                         Exhibit 7 at 126
Case 4:18-cv-00123 Document 273-7 Filed on 12/04/19 in TXSD Page 127 of 130




                                                                         Exhibit 7 at 127
Case 4:18-cv-00123 Document 273-7 Filed on 12/04/19 in TXSD Page 128 of 130




                                                                         Exhibit 7 at 128
Case 4:18-cv-00123 Document 273-7 Filed on 12/04/19 in TXSD Page 129 of 130




                                                                         Exhibit 7 at 129
Case 4:18-cv-00123 Document 273-7 Filed on 12/04/19 in TXSD Page 130 of 130




                                                                        Exhibit 7 at 130
